                          UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                  Northern District of Alabama / Northern Division



In the Matter of:
                                                                  Case No:   11-83381-CRJ-13

SSN:XXX-XX-3914
                                                                  In Proceeding under Chapter 13
SSN:XXX-XX- 6237                                                  of the Bankruptcy Code


Debtor:Anthony Lee Pierce & Peggy Harbin Pierce




                                CERTIFICATE OF COMPLETED CHAPTER 13 PLAN

                Michele T. Hatcher, Chapter 13 Trustee, states that upon information and
        belief, the Debtor has completed the Chapter 13 Plan. Accordingly, pursuant to 11
        U.S.C. Section 1328 (a), the Debtor is entitled to a discharge. The Trustee will
        file a Final Report and Account when all payments to creditors have cleared his bank
        account. The Trustee requests that the Court keep the case open pending receipt of the
        Final Report and Account.




Date:     10/5/2017                                                 /s/ Michele T. Hatcher
                                                                    Michele T. Hatcher
                                                                    Chapter 13 Trustee




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